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                EXHIBIT F
                           Case 1:19-cv-10203-IT Document 181-6 Filed 10/28/22 Page 2 of 4
                                                                                                                          LARSON

csru ii
street
                                                                                        Sonya Larson <sonya@grubstreet.org>



Hi!
Dawn Dorland <dawndorland@gmail.com>                                                                Wed, Jul 22, 2015 at 1:11 PM
To: Sonya Larson <sonya@grubstreet.org>

 Thanks, gurl!

 Sent by telepathy

 On Ju) 22,2015, at 10:07 AM, Sonya Larson <sonya@grubstreet.org> wrote:


        Ah, this is great to hear. Do take care of yourself, and feel great about what you've done! It's truly amazing!


        Cheers;
        Sonya


        Sonya Larson
        Assistant Director, Muse Conference
        In office Monday-Friday, 12:00-6:00pm


             Zri




      - Grub Street
        162 Boylston Street, 5th Floor
        Boston, MA 02116

        grubstreet.org j 617.695.0075
        TW: @GrubWriters | FB: GrubStreetWriters



        On Wed, Jul 22, 2015 at 12:58 PM, Dawn Dorland <dawndorland@gmaii.com> wrote:
        j Hi! I am recovering very well - it just takes a while for the body's soft tissues to completely heal. My
        | incision (belly button area) is still a little puffy and sore. I've got about two weeks to go until I can resume
        | ALL activity (I am more active than I thought -1 pine for some more rigorous exercise, but good god, not a
        j hernia). Amazingly, I don't miss the kidney at all, truly not at all, and the whole thing, the very possibility,
        I now seems like a miracle. I’m thrilled with how it all worked out.

              Happy writing! I'm so glad we got to check in with each other! Be well.

         \ Love,
         ! Dawn

              On Wed, Jul 22, 2015 at 9:32 AM, Sonya Larson <sonya@grubstreet.org> wrote:
               i Hello, Dawn!

                    Ah yes- I did see on Facebook that you donated your kidney. What a tremendous thing! It makes me
                    so glad to know that there are people like you in the world, so very generous and giving. Are you
                    recovering comfortably?
         s
                    And that is awesome about the teaching gig- don't stop!

                   j Cheers,
                   I Sonya
                                                                                                                             P36
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    :

    i   i Sonya Larson
    j j Assistant Director, Muse Conference
        i In office Monday-Friday, 12:00-6:00pm




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    ;       TW: @GrubWriters | FB: GrubStreetWriters



            On Tue, Jul 21, 2015 at 10:32 AM, Dawn Dorland <dawndorland@gmaii.com> wrote:
             j Hooray! That's awesome!

                 I think you're aware that I donated my kidney this summer.. Right? That's what I've been up to for the
                 last month, and now back to writing (and teaching! I got a surprise summer section of nonfiction from
                 WWLA).

                 Love,
                 Dawn
        :
                 Sent by telepathy

                 On Jul 21,2015, at 5:39 AM, Sonya Larson <sonya@grubstreet.org> wrote:

             [
                         Heilo, Dawn!
             i
        i
        !                Oh, it's so fantastic to hear from you. And yes, I've been writing like made this July,
        !                since I have three precious weeks off to concentrate on that. It's amazing. How have
                         you been, my dear?


                         Cheers
                         Sonya


                         Sonya Larson
                         Assistant Director, Muse Conference
                         In office Monday-Friday, 12:00-6:00pm




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i
i                        grubstreet.org j 617.695.0075
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i            i

                         On Mon, Jul 20, 2015 at 5:07 PM, Dawn Dorland <dawndorland@gmail.com> wrote:
                          j Hey, Sonya! Thinking of you, how is your summer? I remember you saying at the
i       i                j Muse that it would be chill and afford you some writing time... I hope that all good
            !                                                                                                             P37
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          i things are underway!
    *
           Love,
           Dawn

\         1 Sent by telepathy




                                                                          P38
